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                               UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
__________________________________________
                                                  )
STATE OF TEXAS,                                   )
                                                  )
                                  Plaintiff,      )
        v.                                        )  Civ. Action No. 6:21-cv-00003
                                                  )
UNITED STATES OF AMERICA;                         )
DAVID PEKOSKE, Acting Secretary of the            )
United States Department of Homeland              )
Security, in his official capacity; UNITED        )
STATES DEPARTMENT OF HOMELAND                     )
SECURITY; TROY MILLER, Senior Official            )
Performing the Duties of the Commissioner of      )
U.S. Customs and Border Protection, in his        )
Official capacity; U.S. CUSTOMS AND               )
BORDER PROTECTION; TAE JOHNSON,                   )
Acting Director of U.S. Immigration and           )
Customs Enforcement, in his official capacity;    )
U.S. IMMIGRATION AND CUSTOMS                      )
ENFORCEMENT; TRACY RENAUD, Senior                 )
Official Performing the Duties of the Director    )
of the U.S. Citizenship and Immigration Services, )
in her official capacity; U.S. CITIZENSHIP AND )
IMMIGRATION SERVICES,                             )
                                                  )
                                  Defendants.     )
__________________________________________)

                             DECLARATION OF JAY VISCONTI

       I, Jay Visconti, declare the following:

         1.    I am the Director (Associate Chief) for the CBP STAT Division within Operations

Support, U.S. Customs and Border Protection (CBP), Department of Homeland Security, where I

manage CBP STAT’s creation and delivery of high-level analysis and reporting of CBP’s

immigration and seizure data. I have formally served as the Director of the CBP STAT Division

since August 2019. Previously, I served as a Senior Advisor to the Chief Operating Officer and

Senior Official Performing the Functions and Duties of the Commissioner. In that role, I



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performed similar functions to those I am performing now with respect to providing reports and

high-level analysis. Prior to serving in that position, I was the Assistant Chief over the U.S. Border

Patrol’s (USBP’s) Statistics and Data Integrity (SDI) Branch, where I provided day-to-day statistics

and analysis to USBP senior leadership and worked to ensure data quality within the USBP data.

Prior to serving as the Assistant Chief over the USBP SDI Branch, I was an Operations Officer and

played a key role in the development of the Border Patrol’s e3 electronic system of records. I have

been a U.S. Border Patrol agent since January 2, 1996.

          2.        I am making this Declaration for the purpose of supplying statistical information

regarding the number of individuals in CBP custody or detention for immigration violations.

          3.        This Declaration is based on my personal knowledge and other information conveyed

to me by my staff and other knowledgeable CBP personnel in the course of my official duties and

responsibilities.

          4.        As of February 10, 2021 at 11:50 A.M., the number of individuals in CBP custody or

detention for immigration violations is as follows:

                    a. The number of individuals apprehended by USBP for immigration violations

                       under U.S. Code, Title 8 is 1,456.

                    b. The number of individuals in Office of Field Operations (OFO) custody for

                       immigration violations, which includes all inadmissible aliens, is 47. For these

                       purposes, “inadmissible alien” refers to: (1) individuals encountered at U.S. ports

                       of entry who are seeking lawful admission into the United States but are

                       determined to be inadmissible, (2) individuals presenting themselves at U.S. ports

                       of entry to seek humanitarian protection under U.S. law, and (3) individuals who

                       sought lawful admission at a U.S. port of entry who subsequently withdraw their




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                   application for admission and are being processed for return to their countries of

                   origin within a short timeframe.

               c. The combined total number of individuals apprehended by USBP for immigration

                   violations under U.S. Code, Title 8 and inadmissible aliens in OFO custody is

                   1,503.

       I declare, under penalty of perjury, that the foregoing is true and correct to the best of my

information, knowledge and belief.



Executed on the 10th day of February, 2021.                       Digitally signed by JAY
                                                                  VISCONTI
                                               JAY VISCONTI       Date: 2021.02.10 15:42:45
                                               _____________________________
                                                                  -05'00'

                                               Jay Visconti
                                               Director, CBP STAT
                                               Operations Support
                                               U.S. Customs and Border Protection




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